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                         Exhibit 1
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                COLLECTIVE ACTION SETTLEMENT AGREEMENT

        This Collective Action Settlement Agreement, including Exhibits A-G hereto (“Settlement
Agreement” or “Agreement”), is made and entered into by, between, and among Kenneth Curry,
Ricardo Mazzitelli, and Jacqueline Brown-Pilgrim (collectively, the “Named Plaintiffs”) on behalf
of themselves and the Settlement Collective as defined below on the one hand, and Acxell, LLC
f/k/a P&G Auditors and Consultants, LLC; GRC Solutions, LLC; PGX, LLC; and Apple Bancorp,
Inc. d/b/a Apple Bank for Savings (together “Defendants”), and Amit Govil on the other hand.
The Named Plaintiffs, Defendants, and Govil are referred to herein collectively as the “Parties.”

        NOW, THEREFORE, in consideration of the promises and agreements contained
herein, and intending to be legally bound, the Parties agree and covenant as follows:
       1.     DEFINITIONS:

       As used in this Agreement, the following definitions (in addition to those set forth
elsewhere herein) shall apply:

               a.     “Apple Defendant” means Apple Bank for Savings sued as Apple Bancorp,
Inc. d/b/a Apple Bank for Savings.

             b.    "Apple Defendant’s Counsel” means Dean Yuzek and Jennifer Zourigui of
Ingram Yuzek Gainen Carroll & Bertolotti, LLC.

               c.     “Approval Order" means the Order granting approval of the collective
action settlement substantially in the form appended hereto as Exhibit A (as may be amended or
modified by the Parties, through their counsel, in accordance with this Agreement).

               d.     "Bar Date" means the date that is one hundred and fifty (150) days from the
date the Settlement Administrator mails the Settlement Notice and Claim Form to the Settlement
Collective.

               e.      "Claim Form" means the Claim Form in the form appended hereto as
Exhibit B. Each Settlement Collective Member's Claim Form will include the estimated amount
such Settlement Collective Member would be entitled to if they submit the required information
to become a Claiming Collective Member and the Court approves all requested attorneys’ fees,
costs, claims administration costs, and the Retaliation Settlement Amount.

                f.      "Claiming Collective Member" means Kenneth Curry, Ricardo Mazzitelli,
Jacqueline Brown-Pilgrim, and any Settlement Collective Member who timely submits a Claim
Form in accordance with the terms of this Agreement. In order to be considered timely, Settlement
Collective Members' Claim Forms shall be received or postmarked by the Bar Date pursuant to
Section 3.d.iii. of this Agreement. Any Claim Form that does not bear a postmark shall be
presumed to have been mailed one (1) day before receipt, unless the Claiming Collective Member
can show otherwise. Kenneth Curry, Ricardo Mazzitelli, and Jacqueline Brown-Pilgrim shall be
Claiming Collective Members regardless of whether they submit Claim Forms.



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             g.    "Collective Counsel" means Julia H. Klein, Esq. of the Klein Law Group of
New York PLLC; D. Maimon Kirschenbaum, Esq., and Denise Schulman, Esq. of Joseph &
Kirschenbaum LLP; and Melissa Mazzitelli, Esq. of The Roller Law Group.

               h.     "Collective List” means a list of all Collective Members, in Microsoft Excel
format identified by (i) name; (ii) last known address; (iii) last known e-mail address; (iv) last
known phone number; and (v) Collective Counsel’s calculation of alleged unpaid overtime
compensation owed by Defendants. The Collective List is to be used by the Parties and the
Settlement Administrator to effectuate settlement and may not be used for any other purpose.
Collective Counsel shall prepare the Collective List.

              i.    “Contractor Defendants” means Acxell, LLC f/k/a P&G Auditors and
Consultants, LLC, GRC Solutions, LLC, and PGX, LLC.

             j.      "Contractor Defendants’ Counsel” means Brian Gershengorn and Seth
Kaufman of Fisher Phillips LLP.

             k.      “Defendants’ Counsel” means Apple Defendant’s Counsel and Contractor
Defendants’ Counsel, collectively.

              l.      "Exclusion Request" means a request to opt out of the Settlement Collective
by a Settlement Collective Member pursuant to this Agreement.

            m.      "Form W-9" means the current version of the Internal Revenue Service's
Form W-9 (Request for Taxpayer Identification Number and Certification).

               n.     "Litigation" means the action entitled Curry, et al. v. P&G Auditors and
Consultants, LLC, et al., Case No. 20-cv-6985, in the United States District Court, Southern
District of New York, including all cross-claims and counterclaims filed therein.

                o.      "Retaliation Action" means the action filed by Kenneth Curry, Ricardo
Mazzitelli, and Jacqueline Brown Pilgrim bearing case number 21-cv-11017 in the United States
District Court for the Southern District of New York.

                p.      “Retaliation Settlement Amount and Service Award” means the total of
Forty Five Thousand Dollars ($45,000.00) to be paid to Kenneth Curry, Ricardo Mazzitelli, and
Jacqueline Brown-Pilgrim (1) as consideration for their general release of claims, including the
claims asserted in the Retaliation Action, and the dismissal of the Retaliation Action; (2) and in
return for services to the Collective Members. Kenneth Curry, Ricardo Mazzitelli, and Jacqueline
Brown-Pilgrim shall each receive Fifteen Thousand Dollars ($15,000.00) from the Retaliation
Settlement Amount and Service Award. Kenneth Curry, Ricardo Mazzitelli, and Jacqueline
Brown-Pilgrim’s respective portions of the Retaliation Settlement Amount shall be referred to as
their “Individual Retaliation Settlement Amount.” The Retaliation Settlement Amount and
Service Award shall be paid out of the Settlement Fund.

               q.     "Settlement" means collectively the rights and duties of the Parties under
this Agreement and the processes for approval and payment to Claiming Collective Members
described in this Agreement.

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               r.     "Settlement Administrator" means the qualified firm to be approved by the
Court to administer the Settlement and the Settlement Fund as described in Section 5.4 of this
Agreement. The Parties have preliminarily designated Rust Consulting as the Settlement
Administrator. The Settlement Administrator shall receive all payments made by Defendants and
AML RightSource LLC to the Settlement Fund, and shall effectuate the disbursement or return of
all Settlement Fund payments as described herein, as applicable.

               s.    "Settlement Collective" means collectively the Named Plaintiffs and 40
additional persons who have filed Consents to Join the Litigation and whose names are included
on the Schedule of Settlement Collective Members appended hereto as Exhibit C (as may be
amended or modified by the Parties, through their counsel, to correct errors or omissions therein).

               t.     "Settlement Collective Member" means any member of the Settlement
Collective.

              u.     "Settlement Fund" means the fund totaling Nine Hundred Thousand Dollars
($900,000.00) described in Section 4 below, and which is intended to be a qualified settlement
fund.

               v.     "Settlement Notice" means the proposed Notice of Settlement Rights and
Obligations to Opt-In Plaintiffs in the form appended hereto as Exhibit D, to be approved by the
Court and mailed to each Settlement Collective Member, in accordance with Section 6 of this
Agreement.

       2.      THE PARTIES’ DISPUTE AND THE LITIGATION:

                a.     On August 10, 2020, the Named Plaintiffs commenced the Litigation by
filing a putative class and collective action complaint alleging that Contractor Defendants and
Apple Bank, alleged to be a joint employer, misclassified them and similarly situated individuals
as independent contractors and, as a result, failed to pay them all wages due under federal and New
York law and failed to provide them with the wage notices and wage statements required under
New York law.

               b.     On October 15, 2020, Apple Defendant answered the complaint and
asserted crossclaims against GRC Solutions, LLC for indemnification.

               c.     On December 4, 2020, Apple Defendant filed a motion for summary
judgment in the Litigation as to the Settlement Collective, which was denied, without prejudice to
renewal, by an Order dated August 9, 2021.

                d.     On December 11, 2020, Named Plaintiffs filed a motion to conditionally
certify a collective pursuant to 29 U.S.C. § 216(b). The Court granted the motion on June 14,
2021, and authorized the issuance of a notice to individuals similarly situated to the Named
Plaintiffs.

             e.     On December 21, 2020, Contractor Defendants answered the complaint,
GRC Solutions, LLC answered Apple Defendant’s crossclaims, and GRC Solutions, LLC and
PGX, LLC filed cross-claims against KDC Consulting, LLC; Kenneth Curry (in his capacity as

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managing member of KDC Consulting, LLC); Mazzitelli Consulting, LLC; Mazzitelli Consulting
Incorporated; Bropil Consulting, LLC; Jacqueline Brown-Pilgrim (in her capacity as managing
member of Bropil Consulting, LLC); and Dennis Pilgrim (in his capacity as managing member of
Bropil Consulting, LLC).

             f.     On February 6, 2021, amended cross-claims were filed, solely on behalf of
PGX, LLC, against KDC Consulting, LLC; Kenneth Curry (in his capacity as managing member
of KDC Consulting, LLC); Bropil Consulting, LLC; Jacqueline Brown-Pilgrim (in her capacity as
managing member of Bropil Consulting, LLC); and Dennis Pilgrim (in his capacity as managing
member of Bropil Consulting, LLC).

              g.      On March 2, 2021, KDC Consulting, LLC; Kenneth Curry (in his capacity
as managing member of KDC Consulting, LLC); Mazzitelli Consulting, LLC; Mazzitelli
Consulting Incorporated; Bropil Consulting, LLC; Jacqueline Brown-Pilgrim (in her capacity as
managing member of Bropil Consulting, LLC); Dennis Pilgrim (in his capacity as managing
member of Bropil Consulting, LLC) filed a motion to dismiss the cross-claims. No decision has
been rendered with respect to this motion to dismiss.

                h.    On December 22, 2021, the Named Plaintiffs commenced the Retaliation
Action against Defendants GRC Solutions, LLC and PGX, LLC asserting that the cross claims
filed against them and the entities controlled by them constituted retaliation pursuant to the Fair
Labor Standards Act and the New York Labor Law.

              i.     The Named Plaintiffs and the Contractor Defendants attended a mediation
session with Ralph Berger, Esq. on May 13, 2021. The matter was not resolved at this mediation.

              j.      The Named Plaintiffs and Defendants attended a second mediation session
with Martin Scheinman, Esq. on April 25, 2022. The matter was not resolved at this mediation.
However, the Parties continued to negotiate and ultimately reached a settlement.

                k.      This Agreement is made in consideration of the facts and recitals set forth
herein. The Parties understand, acknowledge, and agree that this Agreement constitutes a
compromise of all the disputed claims at issue in the Litigation and that it is the desire and intention
of each of the Parties to effect a final and complete resolution of the Litigation and of the Released
Claims, including all costs and attorneys' fees incurred.

                l.      Named Plaintiffs and Collective Counsel: (1) have examined and
considered the benefits to be provided to the Settlement Collective under the Settlement; (2) have
considered the applicable law and the claims that have been and could have been asserted in the
various Complaints filed in the Litigation arising out of or relating to the allegations of
misclassification of the members of the Settlement Collective as independent contractors; and (3)
believe the Settlement to be fair, reasonable, and adequate, and in the best interest of the Settlement
Collective, taking into account the benefits provided to the members of the Settlement Collective
through the terms of the Settlement Agreement, the decisions rendered in the Litigation, the risks
of continued litigation, and the length of time that would be required to complete the litigation and
any appeals.



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                m.     The Parties believe that the Settlement is fair, reasonable, and adequate. The
Settlement was arrived at through arm's-length negotiations, taking into account all relevant factors
and all claims (including crossclaims) asserted against various parties, and will materially benefit
the members of the Settlement Collective. The Parties recognize the uncertainty, risk, expense,
and delay attendant to continuing the Litigation through further discovery and trial, and any further
appeals following trial. Accordingly, the Parties desire to fully, finally, and forever settle,
compromise, and discharge all disputes and claims arising from or relating to the Litigation
(including crossclaims) and the Retaliation Action.

       3.      REQUIRED EVENTS:

                a.      This Agreement shall become effective upon the date that all of the
following conditions are met (the “Effective Date”) in the following order: (1) the Court approves
the Settlement and enters an Approval Order substantially in the form appended hereto as Exhibit
A; (2) Amit Govil executes a consent judgment per Paragraph 3.d.iii. and funds the first installment
payment of Contractor Defendants’ Amount set forth Paragraph 4.a.i.2. that is required by
Paragraph 4.b.iv.1.; (3) Apple Defendant funds the Amount as provided in Paragraphs 4.a.ii. and
4.b.ii.; (4) AML RightSource LLC funds the Amount as provided in Paragraphs 4.a.i.1.and 4.b.iii.;
and (5) the Court enters the Parties’ stipulations of dismissal substantially in the form appended
hereto as Exhibit E. No funds will be released to Claiming Collective Members, Named Plaintiffs,
or Collective Counsel until this Agreement becomes effective. If conditions (1) through (4) of this
sub-paragraph do not occur, the Parties will not proceed to dismiss the Litigation or the Retaliation
Action, the Settlement Administrator shall return any and all amounts it had previously received
pursuant to Section 4 (‘Payments to the Settlement Fund’) directly to the party which funded those
amounts (or the party’s successor or assign, if applicable), and the Parties will return to their prior
positions in the Litigation and the Retaliation Action, and this Agreement and the Settlement shall
be void ab initio.

               b.              The Approval Order: The Approval Order to be submitted to the
Court shall by its terms and its incorporation of this Agreement accomplish all of the following:

                           i.      Approve the Settlement as fair, reasonable, and adequate to
the Settlement Collective Members;

                             ii.       Adopt the terms of the Settlement Agreement;

                            iii.       Approve Collective Counsel's reasonable litigation costs,
expenses;

                           iv.         Approve reasonable compensation and costs to the
Settlement Administrator; and

                            v.     Approve the form, content and method of notice to be
given to Settlement Collective Members as set forth below.

               c.      Procedures for Settlement Approval:



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                             i.      As soon as practicable after this Agreement is fully executed,
Collective Counsel will file a motion requesting judicial approval of the Settlement as required
under the Fair Labor Standards Act (FLSA), which will be prepared by Collective Counsel.
Defendants shall not oppose that motion, provided that it is consistent with the terms of this
Agreement.

                            ii.        Within three (3) business days of filing the motion
requesting judicial approval of the Settlement, Collective Counsel shall provide the Collective List
to the Settlement Administrator and Defendants’ Counsel.

                            iii.        Named Plaintiffs, Collective Counsel, and Defendants will
cooperate and use their best efforts to accomplish the above. If the Court fails to enter the Approval
Order substantially in the form appended hereto as Exhibit A, Named Plaintiffs, Collective
Counsel, and Defendants will use best efforts to amend the Approval Order, consistent with this
Agreement, to cure any defect(s) identified by the Court; for the avoidance of doubt, Named
Plaintiffs, Collective Counsel, and Defendants may not cure any defect(s) identified by the Court
if the cure which would impact the rights and/or obligations of AML RightSource, LLC under this
Agreement without the prior written consent of AML RightSource, LLC, which shall not be
unreasonably withheld, conditioned, or delayed. If, despite such efforts, the Court does not enter
an Order approving the Settlement, the Parties will return to their prior positions in the Litigation,
and this Agreement and the Settlement all shall be void ab initio.

               d.      Procedures After Settlement Approval:

                            i.        Within ten (10) days from the date that the Court enters an
order approving the Settlement, the Settlement Administrator will distribute the Settlement Notice,
Claim Form, and Form W-9 to all Settlement Collective Members via First Class Mail and e-mail.
Defendants shall be obligated to cooperate in good faith with Collective Counsel and the
Settlement Administrator to locate and identify the Settlement Collective Members’ email
addresses and phone numbers.

                            ii.       Settlement Collective Members will be provided with one
hundred and fifty (150) days from the date of the mailing described herein to either (i) submit a
Claim Form and become or Claiming Collective Member, or (ii) submit an Exclusion Request and
opt- out of the Settlement. The last day of this one hundred and fifty (150) day period is the Bar
Date. Claim Forms or Exclusion Requests must be postmarked or received by the Bar Date to be
considered timely under this Agreement. Any Claim Form that does not bear a postmark shall be
presumed to have been mailed one (1) day before receipt, unless the Claiming Collective Member
can show otherwise.

                           iii.     No later than twenty-seven (27) days after the Court enters
the Approval Order, Amit Govil shall deliver to Collective Counsel and AML RightSource, LLC
an original copy of an executed consent judgment in the form appended hereto as Exhibit F for
the amount of Contractor Defendants’ Amount less the amount of AML RightSource LLC’s
payment pursuant to Paragraph 4.a.i.1, plus 10% of outstanding monies owed by Contractor
Defendants.


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                             The consent of judgment must bear Govil’s original signature, as
                             opposed to a copied or electronic signature. Collective Counsel
                             shall hold the consent judgment in escrow and shall not file it in any
                             court unless and until Contractor Defendants default in the payment
                             of any of the installments identified in Paragraph 4.b.iv. of this
                             Agreement and fails to cure his default in accordance with the notice
                             and cure provisions set forth in Paragraph 3.d.iii.1. of this
                             Agreement.

                                 1. If Contractor Defendants fail to make any of the payments
                                    set forth in Paragraph 4.b.iv., Collective Counsel shall notify
                                    Contractor         Defendants         via      e-mail        to
                                    bgershengorn@fisherphillips.com                            and
                                    skaufman@fisherphillips.com of the default. If Contractor
                                    Defendants do not cure the default within seven (7) days of
                                    the notice, 110% of the outstanding monies owed by
                                    Contractor Defendants under this Agreement shall be
                                    immediately due in their entirety, and the Named Plaintiffs
                                    may file the consent judgment, unless otherwise agreed to in
                                    writing by Named Plaintiffs and Contractor Defendants.
                                    The Named Plaintiffs shall also be entitled to their
                                    reasonable attorneys’ fees and costs incurred in effecting the
                                    consent judgment and collecting on a judgment, and
                                    Contractor Defendants shall be solely liable for such
                                    reasonable attorneys’ fees and costs.

                                 2. Neither Apple Defendant nor AML RightSource, LLC, nor
                                    their respective consolidated subsidiaries, successors,
                                    predecessors, assigns, affiliates, parent companies,
                                    shareholders, officers, directors, agents, insurers, attorneys,
                                    owners, and/or past, present, and future shareholders,
                                    officers, directors, agents, employees, attorneys, and
                                    insurers shall be liable for any of Contractor Defendants
                                    payments set forth in Paragraph 4.b.iv.

                         iv.       Within three (3) days from the date that Amit Govil delivers
to Collective Counsel and AML RightSource, LLC the original copy of an executed consent
judgement referenced in Section 3.d.iii., Contractor Defendants shall fund the first installment
payment required by Paragraph 4.b.iv.1. for the Contractor Defendants’ Amount provided in
Paragraph 4.a.i.2.

                            v.       Within two (2) days from the date that Contractor
Defendants fund the first installment payment required by Paragraph 3.d. iv., Apple Defendant
shall fund the Amount as provided in Paragraph 4.a.ii.




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                           vi.      Within two (2) days from the date that Apple Defendant
funds the Amount as provided in Paragraph 3.d.v., AML RightSource LLC shall fund the Amount
as provided in Paragraph 4.a.i.1.

                             vii.       Within three (3) business days of AML RightSource, LLC
funding the Amount as provided in Paragraph 3.d.vi., Plaintiffs will file with the Court stipulations
of dismissal in the Litigation and in the Retaliation Action in the form appended hereto as Exhibit
E. The Parties will ask the Court in the Litigation and in the Retaliation Action to retain
jurisdiction over the administration of the Settlement and enforcement of this Agreement.

       4.      PAYMENTS TO THE SETTLEMENT FUND

               a.      The Settlement Payment: The maximum amount that Defendants will pay
pursuant to terms set forth in this Agreement is Nine Hundred Thousand Dollars ($900,000.00, the
“Settlement Payment”). Of the total Settlement Payment:

                         i.        Contractor Defendants are responsible for Six Hundred
Seventy Five Thousand Dollars ($675,000.00) of the Settlement Payment (the “Contractor
Defendants’ Amount”) which shall be funded as follows:

                                  1. AML RightSource LLC has agreed to fund an estimated Five
                                     Hundred Eighty Thousand Dollars ($580,000.00) of
                                     Contractor Defendants’ Amount of the Settlement Payment.
                                     Simultaneously with the Parties’ execution of this
                                     Agreement, AML RightSource LLC will sign the side letter
                                     that is attached as Exhibit G to this Agreement
                                     acknowledging its intent to make this payment, conditional
                                     upon the occurrence of the required events set forth in the
                                     order listed in Sections 3.a.(1)-(3); and

                                  2. Contractor Defendants shall be responsible for funding the
                                     portion of the Contractor Defendants’ Amount that AML
                                     RightSource LLC does not pay, which is estimated to be
                                     Ninety Five Thousand Dollars ($95,000.00).

                                  3.    The Parties acknowledge and agree that AML RightSource,
                                       LLC has no direct relationship with Contractor Defendants
                                       or the Parties, has no liability with respect to the Litigation
                                       and/or this Agreement, is not responsible for Contractor
                                       Defendants’ Amount, and has solely agreed to fund the
                                       amount set forth in Paragraph 4.a.i.1. pursuant to the side
                                       letter that is attached as Exhibit G to this Agreement.

                         ii.       Apple Defendant shall pay Two Hundred and Twenty Five
Thousand Dollars ($225,000.00) and shall be responsible for the funding of that amount.

               b.      The Settlement Payment shall be remitted upon the following schedule:


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                             i.       No later than thirty (30) days after the Court enters the
Approval Order, Contractor Defendants shall fund the first installment payment required by
Paragraph 4.b.iv.1. for the Contractor Defendants’ Amount provided in Paragraph 4.a.i.2.

                         ii.        No later than thirty-two (32) days after the Court enters the
Approval Order, Apple Defendant shall pay its full share of Two Hundred and Twenty Five
Thousand Dollars ($225,000.00) to the Settlement Fund.

                          iii.      No later than thirty-four (34) days after the Court enters the
Approval Order, AML RightSource LLC shall pay its full share of the Amount set forth in
Paragraph 4.a.i.1 to the Settlement Fund, provided that all pre-conditions set forth in this
Agreement (including, but not limited to Paragraphs 3.a., 3.d.iii-v., and 4.b.(i) & (ii) above) have
been satisfied.

                             iv.       Contractor Defendants shall pay the portion of the
Contractor Defendants’ Amount that is not paid by AML RightSource LLC’s payment pursuant to
Paragraph 4.a.i.1 in six equal installments over the course of a 180-day period after the Court enters
the Approval Order, as follows: (1) no later than thirty (30) days after the Court enters the Approval
Order; (2) no later than sixty (60) days after the Court enters the Approval Order; (3) no later than
ninety (90) days after the Court enters the Approval Order; (4) no later than one hundred twenty
(120) days after the Court enters the Approval Order; (5) no later than one hundred fifty (150) days
after the Court enters the Approval Order; and (6) no later than one hundred eighty (180) days
after the Court enters the Approval Order.

              c.     The Net Settlement Fund. The Net Settlement Fund shall be equal to the
Settlement Payment less:

                      i.        The total amount allocated as reasonable litigation costs, expenses
and attorneys’ fees as set forth in Section 5 hereof and as approved by the Court;

                     ii.       The Settlement Administrator’s costs and fees in administering the
Settlement; and

                    iii.       The Retaliation Settlement Amount.

       5.      ATTORNEYS’ FEES AND COSTS

               a.      Collective Counsel shall petition the Court for an award of costs and no
more than one-third of the Settlement Payment after deducting Court-approved costs. Defendants
shall not oppose Collective Counsel’s request for attorneys’ fees and costs, provided it is consistent
with the terms of this Agreement. The attorneys’ fees Collective Counsel will seek shall cover all
legal services provided by Collective Counsel in the past and future to the members of the
Settlement Collective in connection with the Litigation, the settlement of the Litigation, any appeal
in connection with the Settlement, implementation of the Settlement, or otherwise.

     6.   PAYMENTS TO CLAIMING COLLECTIVE MEMBERS, NAMED
PLAINTIFFS, AND COLLECTIVE COUNSEL


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               a.      Calculation of Payments to Claiming Collective Members.

                    i. The Net Settlement Fund shall be allocated among all Settlement Collective
Members on a pro rata basis according to Collective Counsel’s calculation of each Settlement
Collective Member’s alleged overtime compensation owed by Defendants, as provided in the
Collective List (the “Individual Allocated Share”).

                   ii. No Settlement Collective Member’s Individual Allocated Share shall be
less than One Thousand Dollars ($1,000.00). Thus, if any Settlement Collective Member’s share
calculated pursuant to Paragraph 6.a.1. is less than $1,000, such share shall be increased to $1,000,
and all shares above $1,000 reduced pro rata to account for this increase.

                 iii. To account for any errors and omissions in calculating each Settlement
Collective Member’s alleged overtime compensation owed by Defendants, Fifteen Thousand
Dollars ($15,000.00) shall be reserved from the Net Settlement Fund to be used to resolve any
disputes that may arise concerning the distribution of funds or payment calculations. Following
the Bar Date, each Settlement Collective Member’s share of the Net Settlement Fund (the “Final
Individual Allocated Share”) will be recalculated to include, on a pro rata basis, any amounts
remaining from the $15,000 that was reserved.

                  iv. Following the Bar Date, any monies remaining in the Settlement Fund for
the Final Individual Allocated Shares of Settlement Collective Members who have timely
submitted Exclusion Requests shall be returned, pro rata, to Apple Defendant, AML RightSource
LLC, and/or Contractor Defendants. However, Contractor Defendants shall not receive payment
under this paragraph unless they have fully complied with their payment obligations under this
Agreement.

                   v. Following the Bar Date, the Individual Allocated Shares for any Settlement
Collective Members who did not timely submit either a Claim Form or an Exclusion Request shall
be reallocated among the Claiming Collective Members (the “Reallocated Amount”). Each
Claiming Collective Member shall receive payment from the Net Settlement Fund in the amount
of the sum of his or her Final Individual Allocated Share and his or her respective portion of the
Reallocated Amount (the “Total Individual Payment Amount”).

               b.      Distribution of Settlement Fund.

                    i. On the later of 60 days after the Court enters the Approval Order or 15 days
                       after dismissal of the Action (contingent on the Agreement becoming
                       effective, per Paragraph 3.a, above), the Settlement Administrator shall
                       distribute the portion of the Settlement Fund paid up to 15 days before the
                       check issuance date as follows:

                                  1. The Settlement Administrator shall pay to itself
                                     administration costs and deduct this amount from the portion
                                     of the Settlement Fund paid up to 15 days before the check
                                     issuance date. The remaining funds shall be called the “First
                                     Payment Amount.”


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                       2. The Settlement Administrator shall calculate the percentage
                          of the total Settlement Fund allocated to (i) attorneys’ fees
                          and costs; (ii) each of Kenneth Curry, Ricardo Mazzitelli,
                          and Jacqueline Brown-Pilgrim’s Individual Retaliation
                          Settlement Amounts; and (iii) each Settlement Collective
                          Member’s Individual Allocated Share.

                       3. The Settlement Administrator shall multiply the percentages
                          derived in Paragraph 5.b.i.2. by the First Payment Amount
                          to determine each Settlement Collective Member’s and
                          Collective Counsel’s respective shares of the First Payment
                          Amount (“Individual First Payment Amount”).

                       4. The Settlement Administrator shall issue settlement checks
                          to Collective Counsel and to each person who has become a
                          Claiming Collective Member no later than 15 days before
                          the check issuance date in the amount of their respective
                          Individual First Payment Amounts.

          ii. 195 days after the Court enters the Approval Order (contingent on the
              Agreement becoming effective, per Paragraph 3.a, above), the Settlement
              Administrator shall distribute the balance of the Settlement Fund as
              follows:

                       1. The Settlement Administrator shall pay to itself the
                          remainder of any administration costs.

                       2. The Settlement Administrator shall pay to Collective
                          Counsel all attorneys’ fees and costs awarded by the Court
                          that were not paid in the Individual First Payment Amount.

                       3. The Settlement Administrator shall pay to Kenneth Curry,
                          Ricardo Mazzitelli, and Jacqueline Brown-Pilgrim the
                          portion of their Individual Retaliation Settlement Amounts
                          that were not paid in the Individual First Payment Amount.

                       4. The Settlement Administrator shall pay to each Claiming
                          Collective Member the entire portion of their respective
                          Total Individual Payment Amounts that were not paid in the
                          Individual First Payment Amount.

                       5. The Settlement Administrator shall return the Final
                          Individual Allocated Shares of Settlement Collective
                          Members who timely submitted Exclusion Requests pro rata
                          to Apple Defendant, AML RightSource LLC, and/or
                          Contractor Defendants. However, Contractor Defendants
                          shall not receive payment under this paragraph unless they


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                                       have fully complied with their payment obligations under
                                       this Agreement.

                                   6. In the event that the Settlement Fund has not been fully
                                      funded within 180 days of Court approval of the Settlement,
                                      the Settlement Administrator shall distribute the monies in
                                      the Settlement Fund on a pro rata basis according to the
                                      outstanding portion of Collective Counsel’s attorneys’ fees
                                      and costs; the outstanding portions of Kenneth Curry,
                                      Ricardo Mazzitelli, and Jacqueline Brown-Pilgrim’s
                                      Individual Retaliation Settlement Amounts; and the
                                      outstanding portions of each Claiming Collective Member’s
                                      Total Individual Payment Amounts.

                                   7. Any portion of the Settlement Fund that is paid more than
                                      180 days after Court approval of the Settlement shall be
                                      distributed within 15 days of payment to Collective Counsel,
                                      Kenneth Curry, Ricardo Mazzitelli, Jacqueline Brown-
                                      Pilgrim, and Claiming Collective Members on a pro rata
                                      basis according to the then-unpaid amounts of attorneys’
                                      fees and costs, Individual Retaliation Settlement Amounts,
                                      and Total Individual Payment Amounts.

               c.      Reissued and Uncashed Settlement Checks.

                   i. All settlement checks will be redeemable for 90 days after issuance. If a
Claiming Collective Member does not redeem his or her settlement check within the 90-day period,
the settlement check will be void and a stop-payment will be placed.

                  ii. Claiming Collective Members may request reissued settlement checks up to
120 days after the settlement checks described in Paragraph 5.b.ii. are issued. All reissued
settlement checks will be valid for forty-five days after the date of issue and will be void thereafter.

                   iii. Any portion of a Claiming Collective Member’s Total Individual Payment
Amount or Individual Retaliation Settlement Amount that remains in the Settlement Fund after the
last deadline to request and/or redeem settlement checks has expired shall be paid to the unclaimed
property administrator for the last known state in which such Claiming Collective Member resided.

               d.      Tax Characterization of Payments to Claiming Collective Members.

                   i. All payments made Claiming Collective Members of the Total Individual
Payment Amount shall be allocated as follows: fifty (50%) percent shall be reported on an IRS
Form 1099-NEC, and fifty (50%) shall be reported on an IRS Form 1099-MISC as “other income,”
representing alleged liquidated damage and penalties.

                ii. All payments of the Individual Retaliation Settlement Amounts shall be
non-wage income reported on an IRS Form 1099-MISC as “other income.”


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                   iii. Named Plaintiffs and Claiming Collective Members understand and agree
that Defendants are providing them with no tax or legal advice, and make no representations
regarding tax obligations or consequences, if any, related to this Settlement Agreement. Named
Plaintiffs and Claiming Collective Members agree that they will each be solely responsible for any
and all taxes payable by any of them with respect to the payments issued on an IRS Form 1099-
MISC.

               e.       Settlement Administrator's Duties. The Settlement Administrator shall be
solely responsible for the following functions in accordance with the terms of this Agreement, and
with the Approval Order:

                  i. As soon as practicable, but no later than ten (10) days after the Court's entry
of the Approval Order (unless otherwise ordered by the Court), mailing, by first-class United States
Mail, and e-mailing the Settlement Notice, Claim Form, and a blank Form W- 9 to each Settlement
Collective Member, as set forth in this Agreement.

                  ii. Providing regular reports to the Parties, but no less frequently than one
report every two weeks, regarding (i) The status of the mailing of the Settlement Notices and Claim
Forms to Settlement Collective Members; (ii) The identity and number of Settlement Collective
Members who submit an Exclusion Request, (iii) The identity and number of Claiming Collective
Members; and (iv) The distribution and redemption of the settlement checks.

                 iii.   Processing any challenges to the payment calculations.

                iv. Within seven (7) days following the Bar Date, providing to Collective
Counsel and Defendants’ Counsel a list of every Settlement Collective Member who timely
submitted an Exclusion Request;

               v. Providing Collective Counsel with electronic copies of all individual
Claims Forms mailed to Settlement Collective Members.

                  vi. Submitting the Named Plaintiffs' and Claiming Collective Members'
taxpayer identification numbers, as provided in the executed Form W-9's, to the Internal Revenue
Service taxpayer identification number matching service, and obtaining (prior to issuing payment)
a corrected Form W-9 from each Named Plaintiff and/or Claiming Collective Member whose
taxpayer identification number does not result in a match in the above-referenced IRS process.

               vii. Mailing, by first-class United States Mail, settlement checks to Claiming
Collective Members in accordance with the payment calculations provided to the Settlement
Administrator by Collective Counsel.

               viii.    Transmitting, by wire transfer, payment(s) for attorneys' fees and costs to
Collective Counsel.

                 ix. Mailing, by first-class United States Mail, the Curry Retaliation Settlement
to Plaintiff Kenneth Curry; the Mazzitelli Retaliation Settlement to Plaintiff Ricardo Mazzitelli
and the Pilgrim Retaliation Settlement to Plaintiff Jacqueline Brown-Pilgrim.


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                   x. Establishing, designating, and maintaining the Collective Settlement Fund
as a "qualified settlement fund" under Internal Revenue Code § 468B and Treasury Regulation §
1.468B-1, for the purpose of resolving the contested claims of Named Plaintiffs and the Settlement
Collective.

                    xi. Preparing and filing federal income tax returns in the name of the Collective
Settlement Fund, as well as any other tax filings the Collective Settlement Fund must make under
federal, state, or local law.

                xii. Preparing, filing, and issuing all necessary tax reporting forms in the name
of the Collective Settlement Fund, including IRS Forms 1099 regarding the distribution of
payments to Claiming Collective Members, Collective Counsel, and Named Plaintiffs.

               xiii. Providing Defendants with copies of all tax reporting and filings made for
the Collective Settlement Fund, including copies of the checks and IRS Forms 1099 issued to
Claiming Collective Members, Collective Counsel, and Named Plaintiffs, and any other
documentation to show that the tax reporting and filings were timely transmitted to the claimants
and the applicable taxing authorities.

                xiv. Paying any additional tax liabilities (including penalties and interest) that
arise from the establishment and administration of the Collective Settlement Fund. Any such tax
payment shall be made solely from the assets of the Collective Settlement Fund without any
recourse against Defendants for additional monies.

                 xv.   Providing the Final Accounting to Defendants and Collective Counsel.

               f.     Access to the Settlement Administrator. The Parties will have equal access
to the Settlement Administrator and, upon request of Counsel, the Settlement Administrator will
provide any information that was prepared in administration of this Settlement.

       7.      SETTLEMENT NOTICE

       The Parties agree that the Settlement Notice provides information sufficient to inform the
Settlement Collective Members of the material terms of this Settlement, the appropriate means for
obtaining additional information regarding this Agreement and the status of the Litigation, the
appropriate means for and information about obtaining a Settlement Collective Member's share of
the Net Settlement Fund pursuant to the Settlement, and the appropriate means to exclude oneself
from the Settlement Collective.

       8.      COSTS OF NOTICE AND CLAIMS ADMINISTRATION

        All fees and expenses incurred in administering this Agreement, including payments made
for the services of the Settlement Administrator for the duties set forth in this Agreement, shall be
paid from the Settlement Fund.

       9.      RELEASES



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              a.     Any Settlement Collective Member who timely submits a valid Exclusion
Request in accordance with the terms of this Agreement shall not release any claims under this
Agreement.

                b.       Every Settlement Collective Member who does not timely submit a valid
Exclusion Request shall fully release and discharge (1) Defendants and their respective (a)
consolidated subsidiaries, successors, predecessors, assigns, affiliates, parent companies,
shareholders, officers, directors, agents, insurers, attorneys, and owners, including but not limited
to Amit Govil, and (b) past, present, and future shareholders, officers, directors, agents,
employees, attorneys, and insurers, and (2) AML RightSource, LLC and its respective (a)
consolidated subsidiaries, successors, predecessors, assigns, affiliates, parent companies,
shareholders, officers, directors, agents, insurers, attorneys, owners, and (b) past, present, and
future shareholders, officers, directors, agents, employees, attorneys, and insurers (the “Released
Parties”) from any and all wage and hour claims under the Fair Labor Standards Act or state wage
and hour laws (including, without limitation, the New York Labor Law and New York
Miscellaneous Wage Order) relating to their work on the Apple Bank Lookback Projects, including
but not limited to claims for unpaid wages, overtime pay, failure to maintain and furnish employees
with proper wage notices or wage statements, claims under the Wage Theft Prevention Act, and
all other claims that were or could have been asserted in the Litigation under the Fair Labor
Standards Act or state wage and hour laws, whether known or unknown, through the date that the
Court approves this Agreement, including but not limited to claims for overtime, unpaid wages,
interest, penalties, liquidated damages, and attorneys’ fees and costs related to such claims.

                c.      In addition to the waiver and release contained in 9.b. above, and in
consideration of the Retaliation Settlement Amount and Service Award, each Named Plaintiff
knowingly and voluntarily, fully releases and discharges Acxell, LLC f/k/a P&G Auditors and
Consultants, LLC; GRC Solutions, LLC; PGX, LLC and their respective (a) consolidated
subsidiaries, successors, predecessors, assigns, affiliates, parent companies, shareholders, officers,
directors, agents, insurers, attorneys, and owners, and (b) past, present, and future shareholders,
officers, directors, agents, employees, attorneys, and insurers, including but not limited to Amit
Govil (collectively, the “Contractor Defendants Releasees”) from any and all claims arising up to
and as of the date of this Agreement, both known and unknown, which the Named Plaintiffs have
or may have against the Contractor Defendants’ Releasees, including but not limited to retaliation
claims under the Fair Labor Standards Act or New York Labor Law, any alleged violation of: Title
VII of the Civil Rights Act of 1965; The Civil Rights Act of 1991; Sections 1981 through 1988 of
Title 42 of the United States Code; The Equal Pay Act; The Employee Retirement Income Security
Act of 1974; The Immigration Reform and Control Act; The Consolidated Omnibus Budget
Reconciliation Act; The Age Discrimination in Employment Act; The Americans with Disabilities
Act of 1990; The Fair Credit Reporting Act; The Worker Adjustment and Retraining Act; The
Occupational Safety and Health Act; The New York Corrections Law, including Sections 750-755
thereof; The Family and Medical Leave Act of 1993; The New York State Human Rights Law;
the New York Worker Adjustment and Retraining Act;The New York Civil Rights Law; The New
York City Human Rights Law; the New York City Paid Sick Leave Law; and any other federal,
state, and/or local law or ordinance. This release includes all claims for all damages arising from
any such released claims, including claims for back pay, front pay, compensatory damages,
punitive damages, liquidated damages, penalties, interest, and attorneys’ fees’ and costs.


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                d.      Acxell, LLC f/k/a P&G Auditors and Consultants, LLC; GRC Solutions,
LLC; and PGX, LLC, on behalf of themselves and the Contractor Defendants Releasees,
knowingly and voluntarily fully release and discharge Kenneth Curry, Ricardo Mazzitelli,
Jacqueline Brown-Pilgrim, Dennis Pilgrim, KDC Consulting, LLC, Mazzitelli Consulting LLC,
Mazzitelli Consulting Incorporated, and Bropil Consulting, LLC from any and all claims, actions,
causes of action, administrative claims, demands, debts, damages, penalties, costs, interest,
attorneys' fees, obligations, judgments, expenses, or liabilities, in law or in equity, arising up to
and as of the date of this Agreement, whether now known or unknown, contingent or absolute,
which arise under any statutory or common law or contractual claim, including but not limited to
claims for indemnification, breach of contract, and fraudulent conveyance.

                e.      Acxell, LLC f/k/a P&G Auditors and Consultants, LLC; GRC Solutions,
LLC; and PGX, LLC, on behalf of themselves and the Contractor Defendants Releasees,
knowingly and voluntarily fully release and discharge every Settlement Collective Member who
does not timely submit a valid Exclusion Request; any and all business entities affiliated with those
Settlement Collective Members that entered into agreements or contracts with Acxell, LLC f/k/a
P&G Auditors and Consultants, LLC, GRC Solutions, LLC, or PGX, LLC in connection with the
Apple Bank Lookback Projects; and all such business entities’ consolidated subsidiaries,
successors, predecessors, assigns, affiliates, parent companies, insurers, attorneys, and, in their
official capacities, shareholders, officers, directors, agents, and owners from all indemnification
and breach of contract claims that relate to this Litigation.

                f.     Apple Defendant knowingly and voluntarily fully releases and discharges
Contractor Defendants and their (a) consolidated subsidiaries, successors, predecessors, assigns,
affiliates, parent companies, shareholders, officers, directors, agents, insurers, attorneys, and
owners and (b) past, present, and future shareholders, officers, directors, agents, employees,
attorneys, and insurers from any claim for indemnification that relates to this Litigation.

                g.     Contractor Defendants knowingly and voluntarily fully release and
discharge Apple Defendant and its (a) consolidated subsidiaries, successors, predecessors, assigns,
affiliates, parent companies, shareholders, officers, directors, agents, insurers, attorneys, and
owners, and (b) past, present, and future shareholders, officers, directors, agents, employees,
attorneys, and insurers from all claims that relate to or could have been brought in this Litigation.

                h.     Apple Defendant knowingly and voluntarily fully releases and discharges
AML RightSource, LLC, and its (a) consolidated subsidiaries, successors, predecessors, assigns,
affiliates, parent companies, shareholders, officers, directors, agents, insurers, attorneys, and
owners and (b) past, present, and future shareholders, officers, directors, agents, employees,
attorneys, and insurers from any claim that relates to this Litigation.

                 i.      AML RightSource, LLC knowingly and voluntarily fully releases and
discharges Apple Defendant, and its (a) consolidated subsidiaries, successors, predecessors,
assigns, affiliates, parent companies, shareholders, officers, directors, agents, insurers, attorneys,
and owners and (b) past, present, and future shareholders, officers, directors, agents, employees,
attorneys, and insurers from any claim that relates to this Litigation.



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                j.      In addition to the waiver and release contained in 9.b. above, and in
consideration of the Retaliation Settlement Amount and Service Award, each Named Plaintiff
knowingly and voluntarily, fully releases and discharges AML RightSource, LLC and its
respective (a) consolidated subsidiaries, successors, predecessors, assigns, affiliates, parent
companies, shareholders, officers, directors, agents, insurers, attorneys, and owners, and (b) past,
present, and future shareholders, officers, directors, agents, employees, attorneys, and insurers,
Govil (collectively, the “AML RightSource Releasees”) from any and all claims arising up to and
as of the date of this Agreement, both known and unknown, which the Named Plaintiffs have or
may have against the AML RightSource Releasees, including but not limited to retaliation claims
under the Fair Labor Standards Act or New York Labor Law, any alleged violation of: Title VII
of the Civil Rights Act of 1965; The Civil Rights Act of 1991; Sections 1981 through 1988 of Title
42 of the United States Code; The Equal Pay Act; The Employee Retirement Income Security Act
of 1974; The Immigration Reform and Control Act; The Consolidated Omnibus Budget
Reconciliation Act; The Age Discrimination in Employment Act; The Americans with Disabilities
Act of 1990; The Fair Credit Reporting Act; The Worker Adjustment and Retraining Act; The
Occupational Safety and Health Act; The New York Corrections Law, including Sections 750-755
thereof; The Family and Medical Leave Act of 1993; The New York State Human Rights Law;
the New York Worker Adjustment and Retraining Act;The New York Civil Rights Law; The New
York City Human Rights Law; the New York City Paid Sick Leave Law; and any other federal,
state, and/or local law or ordinance. This release includes all claims for all damages arising from
any such released claims, including claims for back pay, front pay, compensatory damages,
punitive damages, liquidated damages, penalties, interest, and attorneys’ fees’ and costs.

                k.    AML RightSource, LLC, on behalf of itself and the AML RightSource
Releasees, knowingly and voluntarily fully release and discharge Kenneth Curry, Ricardo
Mazzitelli, and Jacqueline Brown-Pilgrim from any and all claims, actions, causes of action,
administrative claims, demands, debts, damages, penalties, costs, interest, attorneys' fees,
obligations, judgments, expenses, or liabilities, in law or in equity, arising up to and as of the date
of this Agreement, whether now known or unknown, contingent or absolute, which arise under
any statutory or common law or contractual claim, including but not limited to claims for
indemnification, breach of contract, and fraudulent conveyance.

                l.     Notwithstanding the above, the Court shall retain jurisdiction over the
Parties, the Settlement Collective and the Settlement with respect to the future performance of the
terms of this Settlement Agreement, and to assure that all payments and other actions required by
the Settlement are properly carried out.

       10.     REPRESENTATIONS AND WARRANTIES

Each of the Parties represents and warrants to, and agrees with, each of the other Parties as follows:

               a.      Each of the Parties has had the opportunity to receive, and has received,
independent legal advice from his or its attorneys regarding the advisability of making the
Settlement, the advisability of executing this Agreement, and fully understands and accepts the
terms of this Settlement.



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               b.        Each of the Parties has investigated the facts pertaining to the Settlement
and this Agreement, and all matters pertaining thereto, to the full extent deemed necessary by that
party and his or its attorneys.

                 c.      The Parties believe that the Settlement is fair, reasonable, and adequate. The
Settlement was arrived at through arm's-length negotiations with the assistance of a mediator,
taking into account all relevant factors and all claims (including crossclaims) brought against
various parties, and will materially benefit the members of the Settlement Collective. The Parties
recognize the uncertainty, risk, expense, and delay attendant to continuing the Litigation through
further discovery and trial, and any further appeals following trial. Accordingly, the Parties desire
to fully, finally, and forever settle, compromise, and discharge all disputes and claims arising from
or relating to the Litigation.

               d.      Each of the Parties has carefully read, and knows and understands, the full
contents of this Agreement and is voluntarily entering into this Agreement after having had the
opportunity to consult with, and having in fact consulted with, his or its attorneys.

              e.     Section titles or captions contained herein are inserted as a matter of
convenience and for reference, and in no way define, limit, extend or describe the scope of this
Agreement or any provision hereof.

               f.     Each of the Parties has participated in the drafting of all provisions of this
Agreement, has had an adequate opportunity to read, review, and consider the effect of the
language of this Agreement, and has agreed to its terms.

               g.        It is understood and agreed that the terms and conditions of this Agreement
are the result of lengthy, intensive, arm's-length negotiations between the Parties and that this
Agreement shall not be construed in favor of or against any party by reason of the extent to which
any party or his or its counsel participated in the drafting of this Agreement.

                h.      This Agreement constitutes and comprises the entire agreement among the
Parties with respect to the subject matter hereof. It supersedes all prior and contemporaneous oral
and written agreements and discussions with any of the Defendants. It may be amended only by
an agreement in writing, signed by all Parties hereto.

              i.      The Parties agree that any dispute regarding the interpretation or
enforcement of the terms of this Agreement or in connection with the Settlement shall be resolved
by the Court.

       11.     MISCELLANEOUS

                a.     Severability. None of the terms of this Agreement is severable from the
others. However, if the Court should rule that any term is void, illegal, or unenforceable for any
reason, Defendants, in their sole discretion, and Named Plaintiffs, in their sole discretion (but
acting in accord with their duties and obligations to the Settlement Collective), may elect to waive
any such deficiency identified by the Court and proceed with the Settlement under the terms and
conditions ultimately approved by the Court. However, Defendants and Named Plaintiffs may not
elect to waive any deficiency and proceed with the Settlement if such deficiency impacts the rights

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Ricardo Mazzitelli


_____________________________ Date: ________________, 2022
Jacqueline Brown-Pilgrim


                                           November 7,
____________________________ Date: ________________,   2022
Acxell, LLC f/k/a P&G Auditors and Consultants, LLC
By: Melissa Taylor
Its: Director Operations



____________________________               November 7,
                                   Date: ________________, 2022
GRC Solutions, LLC
By: Melissa Taylor
Its: Director Operations


____________________________               November 7,
                                   Date: ________________, 2022
PGX, LLC
By: Melissa Taylor
Its:
     Director Operations

                                        11/7/22
_____________________________ Date: ________________, 2022
Amit Govil



____________________________ Date: ________________, 2022
Apple Bank for Savings, sued as Apple Bancorp, Inc. d/b/a Apple Bank for Savings
By:
Its:




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Ricardo Mazzitelli


_____________________________ Date: ________________, 2022
Jacqueline Brown-Pilgrim


____________________________ Date: ________________, 2022
Acxell, LLC f/k/a P&G Auditors and Consultants, LLC
By:
Its:



____________________________       Date: ________________, 2022
GRC Solutions, LLC
By:
Its:


____________________________       Date: ________________, 2022
PGX, LLC
By:
Its:


_____________________________ Date: ________________, 2022
Amit Govil



                                         November 1
____________________________ Date: ________________,          2022
Apple Bank for Savings, sued as Apple Bancorp, Inc. d/b/a Apple Bank for Savings
By: Jeffrey L. Herbert
Its: General Counsel




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                         Exhibit A
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KENNETH CURRY, RICARDO MAZZITELLI,
JACQUELINE BROWN PILGRIM, on behalf of            Case No. 20 CV 6985
themselves and other similarly situated,

                  Plaintiffs,

- against -

ACXELL, LLC, F/K/A P&G AUDITORS AND
CONSULTANTS, LLC; GRC SOLUTIONS, LLC;
PGX, LLC; AND APPLE BANCORP, INC. d/b/a
APPLE BANK FOR SAVINGS,

                  Defendants,

                  - and -
PGX, LLC,

                         Crossclaim Plaintiff,

                  - against –

KDC CONSULTING, LLC, KENNETH CURRY
(IN HIS CAPACITY AS MANAGING MEMBER
OF KDC CONSULTING, LLC), BROPIL
CONSULTING, LLC, JACQUELINE BROWN-
PILGRIM (IN HER CAPACITY AS MANAGING
MEMBER OF BROPIL CONSULTING, LLC), and
DENNIS PILGRIM (IN HIS CAPACITY AS
MANAGING MEMBER OF BROPIL
CONSULTING, LLC),

                         Crossclaim Defendants.
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KENNETH CURRY, RICARDO MAZZITELLI,
JACQUELINE BROWN PILGRIM,                                  Case No. 21 CV 11017

                                      Plaintiffs,

                       - against -

 GRC SOLUTIONS, LLC AND PGX, LLC,

                                      Defendants.


         [proposed] ORDER APPROVING FLSA COLLECTIVE SETTLEMENT

       This matter having come before this Court on ______________ __, 2023 on the joint

application of Kenneth Curry, Ricardo Mazzitelli, and Jacqueline Brown-Pilgrim (collectively, the

“Named Plaintiffs”) and Acxell, LLC, GRC Solutions, LLC, and PGX, LLC (collectively, the

“Contractor Defendants”) and Apple Bancorp, Inc. (“Apple Bank”) (together with the Contractor

Defendants, “Defendants”) for approval of the collective action settlement reached between the

Parties on the terms set forth in the Collective Action Settlement Agreement made and entered into

as of November 7, 2022 (the “Settlement Agreement”) by, between and among the Named

Plaintiffs on behalf of themselves and the Settlement Collective (as defined in the Settlement

Agreement) on the one hand, and Defendants and Amit Govil on the other hand (the “Settlement”);

and

       This Court having considered the parties’ application, and it appearing that the Settlement

is fair, reasonable and adequate as to the Named Plaintiffs and the Settlement Collective; and

       Having     reviewed     both    the    letter   motion    filed    by    plaintiffs   dated

_______________________, Docket Entry __, seeking approval of the settlement agreement

reached by the parties as well as the settlement agreement, Docket Entry ___-_;
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       IT IS HEREBY ORDERED, that the Court adopts the terms of the Settlement Agreement

and the Parties must abide by and carry out the terms of the Settlement Agreement;

       IT IS HEREBY FURTHER ORDERED, the Plaintiffs’ counsels’ attorneys’ fees and

expenses as set forth in their approval letter are approved;

       IT IS HEREBY FURTHER ORDERED, that Rust Consulting is approved to perform

the settlement administration duties set forth in the Settlement Agreement and is entitled to

reasonable compensation and costs;

       IT IS HEREBY FURTHER ORDERED, that notice to the Settlement Collective

Members of the Settlement shall be in the form of the proposed Notice of Settlement Rights and

Obligations to Opt-in Plaintiffs appended to the Settlement Agreement as Exhibit D (“Settlement

Notice”) and that the procedures and deadlines for Settlement Collective Members to return claim

forms or to submit a request to opt out of the Settlement set forth in the Settlement Notice and the

Claim Form appended to the Settlement Agreement as Exhibit B are approved;

       IT IS HEREBY FURTHER ORDERED, that all pending motions before the Court are

terminated; and

       IT IS HEREBY FURTHER ORDERED, that within three business days of the

completion of the predicate acts set forth in the Settlement Agreement, the Parties shall file

stipulations of dismissal to the Court.

       IT IS HEREBY FURTHER ORDERED, that upon the filing and so ordering of a

stipulation of dismissal, this action shall be dismissed with prejudice and without costs to any Party

other than as provided for in the Settlement Agreement, except that the claims of any Settlement

Collective Members who timely submits a request to opt out of the Settlement shall be dismissed

without prejudice; and
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       IT IS HEREBY FURTHER ORDERED, that without affecting the finality of this Final

Order and Judgment, the Court reserves continuing and exclusive jurisdiction over parties to the

Settlement Agreement to administer, supervise, construe, and enforce the Settlement Agreement

in accordance with its terms for the mutual benefit of the parties.




                       SO ORDERED on this            day of _________, 202_




                                              Hon. Sarah L. Cave
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                         Exhibit B
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                                       CLAIM FORM
Curry, et al. v. Acxell, LLC, f/k/a P&G Auditors and Consultants, LLC, et al., No. 20 CV 6985 (S.D.N.Y.)

       In order to claim a share of the collective action settlement in the above-referenced lawsuit filed
against Acxell, LLC, f/k/a/ P&G Auditors and Consultants, LLC; GRC Solutions, LLC; PGX, LLC;
and Apple Bancorp, Inc. you must complete, sign, date and return to [claims administrator] the
following two forms: (1) this Claim Form, and (2) the enclosed IRS Form W-9. In order to receive
your settlement amount, both these forms must be mailed to the address listed below no later than
[BAR DATE - 150 days from date of mailing]:

                               CLAIMS ADMINISTRATOR’S ADDRESS
                               Phone: xxx-xxx-xxxx
                               Fax: xxx-xxx-xxxx
                               EMAIL ADDRESS


 __________________________________________ __________________________________________
 Name                                       Signature
 ______________________________________________________________________________________
 Address
 __________________________________________ __________________________________________
 Home Phone                                 Cell Phone
 __________________________________________
 Email address

To receive your settlement payment, you must sign below and return the completed forms by mail, fax or
email before [bar date]. You may use the enclosed return envelope to this Claim Form and your completed
IRS Form W-9. Under the terms of the settlement in this case, your estimated individual settlement amount
is approximately ______________. To ensure that you receive your settlement payment, please inform
the claims administrator or Collective Counsel if your mailing address changes.

                                                      _________________________________________
                                                      Signature

                                                      _________________________________________
                                                      Date
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                         Exhibit C
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           Exhibit C - List of Settlement Collective Members

                       Frederick Anarfi
                       Pamela Andrews
                       Kwame Asare
                       Julie Ballard
                       Stuart Block
                       Jackie Brown-Pilgrim
                       Rhonda Buck
                       Robert Chung
                       Bruce Corben
                       Hernan Crivellari
                       Ken Curry
                       Isis Curtis
                       Charles Dotto
                       Ehab Elgendy
                       Miles Harter
                       Mary Hernandez
                       James Hughes
                       Ludger Jean-Charles
                       Clint Kapenda
                       Erik Krasnic
                       Urim Lekaj
                       Gerry Linnane
                       Timothy Lyle
                       Ricardo Mazzitelli
                       Andrew Merlino
                       Richard Naas
                       Mark Piluso
                       Dustin Pinkerton
                       Luis Rivera
                       Zainab Rizvi
                       Whitney Rolle
                       Michael Smith
                       Ingrid Grace Sobers
                       Ed Sulca
                       Jennifer Tang
                       Dvong Trinh
                       Chhorvy Ung
                       Dominic Valentino
                       John Voinovich
                       Keith Wendling
                       Michael Whelan
                       Robert Williams
                       Brian Zittel
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                         Exhibit D
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NOTICE OF SETTLEMENT RIGHTS AND OBLIGATIONS TO OPT-IN PLAINTIFFS

   Curry, et al. v. Acxell, LLC, f/k/a P&G Auditors and Consultants, LLC et al., 20 CV 6985,
     United States District Court for the Southern District of New York (the “Litigation”).

PLEASE READ THIS ENTIRE NOTICE CAREFULLY. YOUR RIGHTS
MAY BE AFFECTED BY THE PROPOSED SETTLEMENT DESCRIBED IN
THIS NOTICE.
TO:    ALL INDIVIDUALS WHO OPTED IN TO THIS ACTION BY FILING A “CONSENT
       TO JOIN” WITH THE COURT

A settlement of the Litigation (the “Settlement”) has been reached in which Acxell, LLC, f/k/a
P&G Auditors and Consultants, LLC; GRC Solutions, LLC; PGX, LLC; and Apple Bancorp, Inc.
(collectively, “Defendants”) will set up a settlement fund of up to $900,000 from which all
individuals who have opted-in to the Litigation (“Settlement Collective Members”) will be eligible
to receive payment to resolve their claims alleging that Defendants unlawfully failed to pay them
overtime compensation or provide them with certain wage statements.

If this Notice was mailed to you, you are eligible to receive a share of the settlement fund. The
Settlement affects your rights whether you act or don’t act. Read this Notice carefully to consider
your options.

HOW CAN I RECEIVE MY SHARE OF THE SETTLEMENT?

If you submit the enclosed Claim Form and a fully completed and executed IRS Form W-9 by
[Bar Date-150 days from date of mailing] you will receive payment as part of this Settlement.
You must submit the Claim Form to receive payment. The completed Claim Form and IRS
Form W-9 should be submitted to:

                               CLAIMS ADMINISTRATOR’S ADDRESS
                               Phone: xxx-xxx-xxxx
                               Fax: xxx-xxx-xxxx
                               EMAIL ADDRESS

You may use the enclosed return envelope to submit your Claim Form and IRS Form W-9.

WHAT IF I DO NOT WANT TO PARTICIPATE IN THE SETTLEMENT?

You may opt-out of the Settlement, in which case you will not release any claims against
Defendants. If you do not wish to be part of the Settlement you must send a letter stating that you
wish to opt out of the settlement and do not wish to be bound by the settlement in Curry, et al. v.
Acxell, LLC, f/k/a P&G Auditors and Consultants, LLC et al., 20 CV 6985. Your letter must be
signed by you, contain your name and address, and be mailed to [name], the third-party claims
administrator, on or before [150 days from mailing] at the following address:

                            [ADDRESS]
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WHAT HAPPENS IF I DO NOTHING?

If you do nothing, you will not receive any funds that are available under the Settlement, but you
will still release all wage and hours claims, including for unpaid overtime compensation, that you
may have against Defendants. Under the terms of the Settlement, all Settlement Collective
Members who do not exclude themselves from the Settlement will be releasing Defendants and
related parties from all claims that were asserted or could have been asserted in the Litigation
relating to allegations of misclassification as an independent contractor, as set forth more fully in
the Collective Action Settlement Agreement approved by the Court on ________________ (the
“Settlement Agreement”).

PURPOSE OF THIS NOTICE

This Notice is given pursuant to the Fair Labor Standards Act (“FLSA”) to provide notice to you
of the settlement of the above referenced FLSA Collective action. The Litigation was commenced
on August 10, 2020 by Kenneth Curry, Ricardo Mazzitelli, and Jacqueline Brown-Pilgrim. The
Litigation sought to recover unpaid overtime wages, penalties for violations of New York wage
statement requirements, and related damages. You are receiving this Notice because you
previously submitted a “Consent to Join” form, which your attorneys have filed with the Court.

THE SETTLEMENT

The Parties have agreed to settle the Litigation for the maximum amount of $900,000 (the
“Settlement Amount”), which is based on the claims in the case and the potential damages, as well
as Defendants’ defenses and the risks associated with further litigation. The Settlement Amount
includes (1) payments to all Settlement Collective Members who timely submit the enclosed Claim
Form and a fully completed and executed IRS Form W-9; (2) payments of $15,000 each to Named
Plaintiffs Kenneth Curry, Jacqueline Brown-Pilgrim, and Ricardo Mazzitelli (the “Named
Plaintiffs”) in exchange for releasing retaliation claims against GRC Solutions, LLC and PGX,
LLC that are related to the Litigation; (3) the costs of the third party claims administrator that is
administering the settlement; (4) and reimbursement of costs plus up to one-third of the after-costs
Settlement Amount as attorneys’ fees to Collective Counsel Julia H. Klein of the Klein Law Group
of New York PLLC; D. Maimon Kirschenbaum and Denise Schulman of Joseph & Kirschenbaum
LLP; and Melissa Mazzitelli of The Roller Law Group.

Settlement Collective Members will have 150 days from the date this Notice is mailed to submit a
Claim Form to receive their respective shares of the settlement. The Settlement Amount will be
distributed to Settlement Collective Members who timely submit their Claim Forms and fully
completed and executed IRS Forms W-9 (collectively, the “Claiming Collective Members”) in
two installments as follows: (1) on or around [date that is 60 days after approval], settlement checks
representing approximately 91% of Claiming Collective Members’ settlement shares will be sent
to Claiming Collective Members whose completed Claim Forms and IRS Forms W-9 are received
by the Claims Administrator by [date that is 60 days after approval]; (2) on or around [date that is
195 days after approval], settlement checks representing the outstanding balance of Claiming
Collective Members’ settlement shares will be sent to all Claiming Collective Members. All
settlement checks will be redeemable for 90 days, after which each uncashed check shall be null
and void. Claiming Collective Members may request reissued settlement checks up to 120 days

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after the second installment settlement checks are issued. Reissued checks will be valid for 45
days. Uncashed settlement checks will be paid to the lost property administrators for the last
known states in which the checks’ payees’ resided.

Collective Counsel estimates that after attorney’s fees and costs, administrative expenses, and
$15,000 payments to the Named Plaintiffs are deducted from the Settlement Amount, you are
eligible to receive approximately $______, based on your overtime hours worked and pay rates in
connection with your work on the Apple Bank LookBack Projects. You will receive two IRS
Forms 1099 for the amount of any settlement payment you are sent. You should consult with an
accountant or other tax advisor about the tax consequences of your settlement proceeds.

BACKGROUND TO THE SETTLEMENT

Prior to entering into the Settlement Agreement, Collective Counsel conducted an investigation
relating to the events and transactions underlying the Named Plaintiffs’ and Settlement Collective
Members’ claims. Collective Counsel’s decision to enter into the Settlement Agreement was made
with knowledge of the underlying facts and circumstances and the strengths and weaknesses of
those claims, including information obtained through substantial discovery in the Litigation. In
determining to settle the Litigation, Collective Counsel has analyzed the evidence adduced during
pretrial proceedings and settlement negotiations, and has taken into account the substantial expense
and length of time necessary to prosecute the Litigation through trial, post-trial motions and likely
appeals, taking into consideration the significant uncertainties in predicting the outcome of this
complex litigation. The Parties also participated in numerous and extensive negotiations with the
assistance of a mediator, in which all terms of the Settlement Agreement were mutually agreed
upon by the Parties. Collective Counsel has determined that the Settlement described herein
confers substantial benefits upon the Settlement Collective Members. Based upon consideration
of these factors, and others, Collective Counsel has concluded that it is in the best interest of the
Settlement Collective Members to settle the Litigation on the terms described herein, and that this
Settlement and the Settlement Agreement is fair, reasonable and adequate.

Defendants deny all allegations of wrongdoing or liability whatsoever. Defendants desire to settle
and terminate all existing or potential claims against them which were, or could have been, asserted
in the Litigation, without in any way acknowledging any fault or liability, solely in order to
eliminate the expense and uncertainty of protracted litigation.

YOUR OBLIGATIONS

If you do not properly opt out of the Settlement, you will fully release and discharge (1) Defendants
and their respective (a) consolidated subsidiaries, successors, predecessors, assigns, affiliates,
parent companies, shareholders, officers, directors, agents, insurers, attorneys, and owners, and (b)
past, present, and future shareholders, officers, directors, agents, employees, attorneys, and
insurers, and (2) AML RightSource, LLC and its respective (a) consolidated subsidiaries,
successors, predecessors, assigns, affiliates, parent companies, shareholders, officers, directors,
agents, insurers, attorneys, owners, and (b) past, present, and future shareholders, officers,
directors, agents, employees, attorneys, and insurers from any wage and hour claims under the Fair
Labor Standards Act or state wage and hour laws (including, without limitation, the New York
Labor Law and New York Miscellaneous Wage Order) relating to your work on the Apple Bank

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Lookback Projects, including but not limited to claims for unpaid wages, overtime pay, failure to
maintain and furnish employees with proper wage notices or wage statements, claims under the
Wage Theft Prevention Act, and all other claims that were or could have been asserted in the
Litigation under the Fair Labor Standards Act or state wage and hour laws, whether known or
unknown, through the date that the Court approves this Agreement, including but not limited to
claims for overtime, unpaid wages, interest, penalties, liquidated damages, and attorneys’ fees and
costs related to such claims. Reciprocally, if you do not properly opt out of the Settlement, Acxell,
LLC f/k/a P&G Auditors and Consultants, LLC; GRC Solutions, LLC; and PGX, LLC will fully
release and discharge you; any and all business entities affiliated with you that entered into
agreements or contracts with Acxell, LLC f/k/a P&G Auditors and Consultants, LLC, GRC
Solutions, LLC, or PGX, LLC in connection with the Apple Bank Lookback Projects; and all such
business entities’ consolidated subsidiaries, successors, predecessors, assigns, affiliates, parent
companies, insurers, attorneys, and, in their official capacities, shareholders, officers, directors,
agents, and owners from all indemnification and breach of contract claims that relate to this
Litigation.

ADDITIONAL INFORMATION

For more detailed information concerning the matters involved in the Litigation, including the
specific breakdown of settlement funds, please contact Collective Counsel as follows:

                                          Julia H. Klein
                              Klein Law Group of New York, PLLC
                                  120 East 79th Street, Suite 1A
                                       New York, NY 10021
                                          347-292-8170
                                   jklein@kleinlegalgroup.com
                                    D. Maimon Kirschenbaum
                                       Denise A. Schulman
                                   Joseph & Kirschenbaum LLP
                                      32 Broadway, Suite 601
                                       New York, NY 10004
                                          212-688-5640
                                        denise@jk-llp.com
                                       Melissa Mazzitelli
                                     The Roller Law Group
                                801 NE 167th Street, Second Floor
                                 North Miami Beach, FL 33162
                                         954-828-0333
                                     mmazzitelli@roller.law
THIS NOTICE HAS BEEN AUTHORIZED BY THE COURT
Do not call or write the Court to obtain copies of documents or to ask questions about the
settlement.
Dated:____________ __, 2022
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                         Exhibit E
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KENNETH CURRY, RICARDO MAZZITELLI,
JACQUELINE BROWN PILGRIM, on behalf of                 Case No. 20 CV 6985
themselves and other similarly situated,

                      Plaintiffs,

 - against -

 ACXELL, LLC, F/K/A P&G AUDITORS AND
 CONSULTANTS, LLC; GRC SOLUTIONS, LLC;
 PGX, LLC; AND APPLE BANCORP, INC. d/b/a
 APPLE BANK FOR SAVINGS,

                      Defendants,

                       - and -
 PGX, LLC,

                             Crossclaim Plaintiff,

                       - against –

 KDC CONSULTING, LLC, KENNETH CURRY
 (IN HIS CAPACITY AS MANAGING MEMBER
 OF KDC CONSULTING, LLC), BROPIL
 CONSULTING, LLC, JACQUELINE BROWN-
 PILGRIM (IN HER CAPACITY AS MANAGING
 MEMBER OF BROPIL CONSULTING, LLC), and
 DENNIS PILGRIM (IN HIS CAPACITY AS
 MANAGING MEMBER OF BROPIL
 CONSULTING, LLC),

                             Crossclaim Defendants.


                                    STIPULATION OF DISMISSAL

       IT IS HEREBY STIPULATED that this action, including all claims, cross-claims, and

counterclaims, has been discontinued and is hereby dismissed with prejudice and without costs to any




                                                 1
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party against any other. The Court retains jurisdiction to enforce the Parties’ Settlement. This Stipulation

may be filed with the Court without further notice to any party.

Dated: New York, New York
       __________________, 2022

Attorneys for Plaintiffs              Attorneys for Defendants Acxell,       Attorneys for Defendant
                                      LLC, GRC Solutions, LLC, and           Apple Bancorp
                                      PGX, LLC and Crossclaim
                                      Plaintiff PGX, LLC

By:__________________________         By:__________________________          By:_____________________
Denise A. Schulman                    Brian Gershengorn                      Dean G. Yuzek
JOSEPH &                              Seth Kaufman                           Jennifer B. Zourigui
KIRSCHENBAUM LLP                      FISHER & PHILLIPS LLP                  INGRAM YUZEK GAINEN
32 Broadway, Suite 601                7 Times Square, Suite 4300             CARROLL &
New York, NY 10004                    New York, NY 10036                     BERTOLOTTI, LLP
                                                                             150 East 42nd St., 19th Fl.
Julia Klein                                                                  New York, NY 10017
KLEIN LEGAL GROUP OF
NEW YORK PLLC
120 East 79th St., Suite 1A
New York, NY 10021

Melissa Mazzitelli
The Roller Law Group
801 NE 167th Street, Second Floor
North Miami Beach, FL 33162


So Ordered: ________________________




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KENNETH CURRY, RICARDO MAZZITELLI,
JACQUELINE BROWN PILGRIM,                                    Case No. 21 CV 11017

                                         Plaintiffs,

                           - against -

 GRC SOLUTIONS, LLC AND PGX, LLC,

                                         Defendants.



                                  STIPULATION OF DISMISSAL

       IT IS HEREBY STIPULATED that this action has been discontinued and is hereby

dismissed with prejudice and without costs to any party against any other. The Court retains

jurisdiction to enforce the Parties’ Settlement. This Stipulation may be filed with the Court without

further notice to any party.

Dated: New York, New York
       __________________, 2022

Attorneys for Plaintiffs                       Attorneys for Defendants GRC Solutions, LLC, and
                                               PGX, LLC

By:_____________________________               By:_____________________________
Denise A. Schulman                             Brian Gershengorn
JOSEPH & KIRSCHENBAUM LLP                      Seth Kaufman
32 Broadway, Suite 601                         FISHER & PHILLIPS LLP
New York, NY 10004                             7 Times Square, Suite 4300
                                               New York, NY 10036
Julia Klein
KLEIN LEGAL GROUP OF
NEW YORK PLLC
120 East 79th St., Suite 1A
New York, NY 10021

Melissa Mazzitelli
The Roller Law Group

                                                   1
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801 NE 167th Street, Second Floor
North Miami Beach, FL 33162


So Ordered: ________________________




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                         Exhibit F
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KENNETH CURRY, RICARDO MAZZITELLI,
JACQUELINE BROWN PILGRIM, on behalf of                Case No. 20 CV 6985
themselves and other similarly situated,

                      Plaintiffs,

                      - against -

 ACXELL, LLC, F/K/A P&G AUDITORS AND
 CONSULTANTS, LLC; GRC SOLUTIONS, LLC;
 PGX, LLC; AND APPLE BANCORP, INC. d/b/a
 APPLE BANK FOR SAVINGS,

                      Defendants,

                      - and -
 PGX, LLC,

                             Crossclaim Plaintiff,

                      - against –

 KDC CONSULTING, LLC, KENNETH CURRY
 (IN HIS CAPACITY AS MANAGING MEMBER
 OF KDC CONSULTING, LLC), BROPIL
 CONSULTING, LLC, JACQUELINE BROWN-
 PILGRIM (IN HER CAPACITY AS MANAGING
 MEMBER OF BROPIL CONSULTING, LLC), and
 DENNIS PILGRIM (IN HIS CAPACITY AS
 MANAGING MEMBER OF BROPIL
 CONSULTING, LLC),

                             Crossclaim Defendants.


                     STIPULATION AND CONSENT JUDGMENT

        This Stipulation and Consent Judgment is entered into by and between Kenneth Curry,
Ricardo Mazzitelli, and Jacqueline Brown-Pilgrim (hereinafter, “Plaintiffs”), and behalf of
themselves and the FLSA Collective Members in this Action, and Amit Govil (“Govil,”
collectively with Plaintiffs, the “Parties”), subject to approval by the Court.




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       WHEREAS, Plaintiffs brought this action bearing Case Number 20 CV 6985 (hereinafter,
the “Action”) and alleging violations of the Fair Labor Standards Act (“FLSA”), New York Labor
Law (“NYLL”), and related regulations by, inter alia, Defendants Acxell, LLC, f/k/a P&G
Auditors and Consultants, LLC; GRC Solutions, LLC; and PGX, LLC (collectively, the
“Contractor Defendants”);

       WHEREAS, Contractor Defendants were properly served with the Complaint in this
Action and have not contested the jurisdiction of this Court;

       WHEREAS, at the time of the events giving rise to the Action, Govil was an owner of the
Contractor Defendants;

       WHEREAS, Plaintiffs, Contractor Defendants, Defendant Apple Bancorp, Inc. (together
with the Contractor Defendants, “Defendants”), and Govil negotiated a resolution of the Action,
as memorialized in the Parties’ Settlement Agreement, by agreeing that Plaintiffs would dismiss
the Action with prejudice and release certain claims in exchange and in consideration for payment
by Defendants to Plaintiffs and Claiming Collective Members in the aggregate amount of
$900,000.00 (the “Settlement Amount”), without any admission of wrongdoing or liability by
Defendants and the Releasees (as defined in the Settlement Agreement);

        WHEREAS, the Contractor Defendants are responsible for paying $675,000.00 of the
Settlement Amount, of which $580,000.00 will be funded by AML Rightsource LLC pursuant to
the terms of the Settlement Agreement;

      WHEREAS, under the Settlement Agreement, the remainder of the Contractor
Defendants’ portion of the Settlement (the remainder being $95,000.00) is to be paid in 6 equal
monthly installments, and Govil has agreed to guarantee those payments;

        WHEREAS, Plaintiffs’ counsel agreed to hold this Stipulation and Consent Judgment in
escrow and not file it with any court unless and until the Contractor Defendants failed to cure a
default;

        WHEREAS, in the event that the Contractor Defendants are in default of the payment of
any installments due under the Settlement Agreement, the Settlement Agreement provides that
Plaintiffs shall provide the Contractor Defendants with seven (7) calendar days’ notice of their
intent to file this Stipulation and Consent Judgment with the Court, and Defendants shall be
afforded the opportunity to cure the default; and

        WHEREAS, the Contractor Defendants have defaulted under the payment terms of the
Settlement Agreement, Plaintiffs have provided the requisite notice specified above and in the
Settlement Agreement, and Contractor Defendants have not cured the default within seven (7) days
of receiving notice from Plaintiffs’ counsel of record in this Action.

       WHEREAS, this Stipulation and Consent Judgment shall become void ab initio if the
Settlement Agreement becomes void ab initio.



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        NOW, THEREFORE, IT IS HEREBY STIPULATED, ORDERED, ADJUDGED,
AND DECREED that the Clerk of the Court shall enter Judgment with respect to all claims
contained in the Complaint in this Action in favor of Plaintiffs and the Claiming Collective
Plaintiffs, as defined in the Settlement Agreement, against Govil in the amount of 110% of the
following amount: Ninety Five Thousand Dollars and Zero Cents ($95,000.00) less any
settlement payment(s) made by or on behalf of the Contractor Defendants on or after the date that
Govil signs this stipulation and consent judgment other than the $580,000 payment made by AML
Rightsource LLC.


_____________________________ Date: _______________, 2023
Kenneth Curry


_____________________________ Date: _______________, 2023
Ricardo Mazzitelli


_____________________________ Date: _______________, 2023
Jacqueline Brown-Pilgrim


_____________________________ Date: _______________, 2023
Amit Govil
[insert address]

Sworn to before me this
___ day of __________, 2023.


       Notary Public




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                         Exhibit G
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HOHFWUR LF VLJ DWXUH FRPSO L J      LWK WKH 8      IHGHUDO ( , 1 $FW RI                 HJ
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     Case 1:20-cv-06985-SLC Document 222-1 Filed 01/10/23 Page 51 of 55




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IN WITNESS WHEREOF, the parties hereto have executed this letter agreement as of the date
first above written.
                                                Very truly yours,


                                                _____________________________
                                                Kenneth Curry



                                                _____________________________
                                                Jacqueline Brown-Pilgrim



                                                _____________________________
                                                Ricardo Mazzitelli



                                                Acxell, LLC f/k/a P&G Auditors and
                                                Consultants, LLC


                                                _______________________________
                                                By:
                                                       Melissa Taylor
                                                Its: Director Operations


                                                GRC Solutions, LLC


                                                _______________________________
                                                By:
                                                Its:
                                                PGX, LLC


                                                _______________________________
                                                By: Melissa Taylor
                                                Its:
                                                       Director Operations


                                            3
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                                          _______________________________
                                          By: Jeffrey L. Herbert
                                          Its: EVP & General Counsel
                                          Apple Bank for Savings, sued as Apple
                                          Bancorp, Inc. d/b/a Apple Bank for Savings


                                          _______________________________
                                          By:
                                          Its:



                                          ______________________________
                                          Amit Govil



Agreed to and accepted:
AML RIGHTSOURCE, LLC


By:_____________________
Name: Frank Ewing
Title: CEO




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                                          Apple Bank for Savings, sued as Apple
                                          Bancorp, Inc. d/b/a Apple Bank for Savings


                                          _______________________________
                                          By:
                                          Its:



                                          ______________________________
                                          Amit Govil



Agreed to and accepted:
AML RIGHTSOURCE, LLC


By:_____________________
Name: Frank Ewing
Title: CEO




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